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                 UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION
__________________________________________________________________

GEOFFREY LEONARD, LAURA
MISUMI, and SARAH MESSER,                      CASE NO. 21-cv-10146

       Plaintiffs,                             HON. BERNARD A. FRIEDMAN
                                               MAG. DAVID R. GRAND

v.

NOKEL LLC, DVI 2 LLC, VILLAGES
PROPERTY MANAGEMENT LLC,
ALEX DECAMP, and REIMER
PRIESTER,

     Defendants.
__________________________________________________________________

     STIPULATED ORDER REGARDING AN EXTENSION OF TIME TO
          RESPOND TO DEFENDANT’S MOTION TO DISMISS

       The parties stipulate to a fourteen-day extension of Plaintiffs’ deadline to

respond to Defendants’ Motion to Dismiss [ECF No. 11]. Based on the parties’

stipulation:

       IT IS HEREBY ORDERED that Plaintiffs’ deadline to respond to

Defendants’ Motion to Dismiss is extended by fourteen days, such that Plaintiffs’

response is due no later than Friday, April 2, 2021.

       IT IS SO ORDERED.

                                           s/Bernard A. Friedman
Dated: March 15, 2021                      Senior United States District Judge
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The following stipulate to entry of this Order as to form and substance:

/s/ Geoffrey Leonard                                /s/ John T. Sheets (with consent)
GEOFFREY LEONARD                                    BARRIS, SOTT, DENN & DRIKER,
Plaintiff Pro Se                                    P.L.L.C.
2643 Holmes Street, Apartment 1                     By: John T. Sheets (P77706)
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/s/ Sean Riddell                                    jsheets@bsdd.com
THE RIDDELL LAW FIRM PLLC
By: Sean Riddell (P81302)
Attorney for Plaintiffs Misumi and Messer
400 Renaissance Center, Suite 2600
Detroit, Michigan 48243
Phone: (313) 497-0074
sriddell@riddelllawfirm.com


                               CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or
party of record herein by electronic means or first-class U.S. mail on March 15, 2021.
 Geoffrey Leonard                             s/Johnetta M. Curry-Williams
 2643 Holmes Street                           Case Manager
 Apartment 1
 Hamtramck, MI 48212




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